              Case 2:20-cr-00144-RAJ Document 18 Filed 10/19/20 Page 1 of 2




 1                                                                   HON. RICHARD A. JONES
 2
 3
                              UNITED STATES DISTRICT COURT
 4
                             WESTERN DISTRICT OF WASHINGTON
 5                                     AT SEATTLE

 6
     UNITED STATES OF AMERICA,                     )   No. CR20-144-RAJ
 7                                                 )
                     Plaintiff,                    )
 8                                                 )   ORDER GRANTING UNOPPOSED
                v.                                 )   MOTION TO CONTINUE TRIAL AND
 9                                                 )   PRETRIAL MOTIONS DEADLINE
     SAMI C. HORNER,                               )
10                                                 )
                     Defendant.                    )
11                                                 )
12          THE COURT has considered the unopposed motion of the parties to continue

13   the trial date and pretrial motions deadline and finds that:

14          (a) taking into account the exercise of due diligence, a failure to grant a

15   continuance in this case would deny counsel for the defendant the reasonable time

16   necessary for effective preparation due to counsel’s need for more time to review the

17   evidence, consider possible defenses, and gather evidence material to the defense, as set

18   forth in 18 U.S.C. § 3161(h)(7)(B)(iv); and

19          (b) a failure to grant such a continuance in this proceeding would likely result in

20   a miscarriage of justice, as set forth in 18 U.S.C. § 3161(h)(7)(B)(i); and

21          (c) the additional time requested is a reasonable period of delay, as the defendant

22   has requested more time to prepare for trial, to investigate the matter, to gather evidence

23   material to the defense, and to consider possible defenses; and

24          (d) the ends of justice will best be served by a continuance, and the ends of

25   justice outweigh the best interests of the public and the defendant in any speedier trial,

26   as set forth in 18 U.S.C. § 3161(h)(7)(A); and

                                                                    FEDERAL PUBLIC DEFENDER
       ORDER TO CONTINUE TRIAL AND                                     1601 Fifth Avenue, Suite 700
       PRETRIAL MOTIONS DEADLINE                                         Seattle, Washington 98101
       (USA v. Horner / CR20-144-RAJ) - 1                                           (206) 553-1100
               Case 2:20-cr-00144-RAJ Document 18 Filed 10/19/20 Page 2 of 2




 1           (e) the additional time requested between the current trial date of November 16,
 2   2020 and the new trial date is necessary to provide counsel for the defendant the
 3   reasonable time necessary to prepare for trial, considering counsel’s schedule and all of
 4   the facts set forth above.
 5           IT IS THEREFORE ORDERED that Defendant’s Unopposed Motion to
 6   Continue Trial Date and Pretrial Motions Deadline (Dkt. #16) is GRANTED. The trial
 7   date in this matter shall be continued from November 16, 2020 to April 5, 2021. All
 8   pretrial motions, including motions in limine, shall be filed no later than February 26,
 9   2021.
10           IT IS FURTHER ORDERED that the period of delay from the date of this order
11   to the new trial date of April 5, 2021, is excludable time pursuant to 18 U.S.C. §§
12   3161(h)(7)(A) and (h)(7)(B)(iv).
13
14           DATED this 19th day of October, 2020.
15
16
                                                      A
                                                      The Honorable Richard A. Jones
17
                                                      United States District Judge
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                                                                FEDERAL PUBLIC DEFENDER
       ORDER TO CONTINUE TRIAL AND                                 1601 Fifth Avenue, Suite 700
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